         2:17-cv-02671-RMG        Date Filed 10/26/17       Entry Number 20       Page 1 of 8




                           IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISION
                                  C/A No.: 2:17-cv-2671-RMG

    John Doe,

                                      Plaintiff,

    v.                                                       MOTION TO DISMISS OF
                                                       DEFENDANT COLLEGE OF CHARLESTON
    College of Charleston and Jane Doe,

                                  Defendants.


          NOW COMES Defendant College of Charleston (hereinafter the “College”), by and

through its undersigned counsel, and moves to dismiss1 with prejudice the single claim brought

against the College in the Complaint [NEF Dkt. #1] of Plaintiff John Doe, pursuant to Rule

12(b)(6), FED.R.CIV.P. In support of this motion, the College presents the following.

                PLAINTIFF’S COMPLAINT & MOTION FOR PRELIMINARY INJUNCTION

          This case presents the curious accusation that the College has violated 20 U.S.C. § 1681

et seq., otherwise known as “Title IX,” by merely complying with its obligations to investigate

complaints filed by its students under Title IX.

          In his Complaint, Plaintiff’s sole claim against the College is that it violated Title IX by

investigating a complaint filed against him2 by Jane Doe with the College’s Title IX Coordinator.

[NEF Dkt. #1, ¶¶ 44, 70]. Plaintiff has also filed a memorandum supporting his Motion for


1
  The College also submits this pleading as a response to Plaintiff’s Motion for Preliminary
Injunction [NEF Dkt. #8] and other motions filed in this case [NEF Dkts. #9 and #16], and urges
the Court to dismiss them as moot.
2
 Also curiously, Plaintiff himself has filed an internal complaint against Jane Doe, which the
College is currently investigating. [NEF Dkt. #8-1, p. 5].


                                                   1
      2:17-cv-02671-RMG          Date Filed 10/26/17      Entry Number 20        Page 2 of 8




Preliminary Injunction [NEF Dkt. #8-1], in which he further explains his theory behind the

claim. He specifically argues that:

       1. The College has violated Title IX because it is investigating the complaint
          filed with the College against Plaintiff by Jane Doe, even though the local
          police department concluded its investigation by finding that it did not
          uncover “probable cause” of a criminal violation. Plaintiff alleges that this
          amounts to “deliberate indifference” under Title IX. [NEF Dkt. #8-1, pp. 8-
          11].

       2. Plaintiff also alleges that the College’s investigation of the Title IX complaint
          filed against him by Jane Doe constitutes “selective enforcement” under Title
          IX. [NEF Dkt. #8-1, pp. 11-12].


       For the reasons detailed below, these allegations fail to state a claim against the College

under Title IX, and for that reason, the claim against the College should be dismissed with

prejudice.

                  STANDARD OF REVIEW UNDER RULE 12(B)(6), FED.R.CIV.P.

       A Rule 12(b)(6) motion to dismiss tests the legal sufficiency of a complaint to determine

whether the plaintiff has properly stated a claim. Although a complaint “does not need detailed

factual allegations, a plaintiff's obligation to provide the ‘grounds' of his entitle[ment] to relief

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, (2007) (internal citations

omitted). A court need not “accept the legal conclusions drawn from the facts” or “accept as true

unwarranted inferences, unreasonable conclusions, or arguments.” Eastern Shore Markets, Inc. v.

J.D. Assocs. Ltd. P'ship, 213 F.3d 175, 180 (4th Cir.2000). “Factual allegations must be enough

to raise a right to relief above the speculative level,” Twombly, 550 U.S. at 555, with all

allegations in the complaint taken as true and all reasonable inferences drawn in the plaintiff's

favor, Chao v. Rivendell Woods, Inc., 415 F.3d 342, 346 (4th Cir.2005). Rule 12(b)(6) does “not

require heightened fact pleading of specifics, but only enough facts to state a claim to relief that

                                                 2
     2:17-cv-02671-RMG            Date Filed 10/26/17      Entry Number 20       Page 3 of 8




is plausible on its face.” Twombly, 550 U.S. at 570. Consequently, “only a complaint that states a

plausible claim for relief survives a motion to dismiss.” Ashcroft v. Iqbal, 556 U.S. 662, 679

(2009).

                                      FACTUAL ALLEGATIONS

          Plaintiff’s allegations are summarized as follows.

                Plaintiff and Jane Doe were students at the College in the spring of 2017.

                On April 10, 2017, they spent the night drinking alcohol, smoking marijuana, and
                 engaging in sexual intercourse. [NEF Dkt. #8-1, pp. 2-3].

                Thereafter, Jane Doe accused Plaintiff of sexually assaulting her, and filed a
                 complaint against Plaintiff on June 23, 2017 with the Charleston Police
                 Department (CPD). [NEF Dkt. #8-1, p. 4].

                The CPD investigation ended on or about July 28, 2017, when the investigator
                 concluded that there was “insufficient evidence and probable cause in support of a
                 criminal charge against [Plaintiff]. As such, the investigation would be placed
                 into an inactive status with the ability to reopen it should new evidence arise.”
                 [NEF Dkt. #1-3, p. 32].

                On August 3, 2017, Plaintiff received notice that Jane Doe also filed a complaint
                 against him with the College’s Title IX Coordinator, Kimberly Gertner, regarding
                 the incident. [NEF Dkt. #8-1, p. 5].

                On August 23, 2017, Plaintiff filed a complaint against Jane Doe with the
                 College’s Office of Equal Opportunity Programs, based on Jane Doe’s alleged
                 false allegations and acts of harassment and intimidation. [NEF Dkt. #8-1, p. 5].

                On September 8, 2017, Plaintiff’s counsel also sent the College a letter requesting
                 that the College terminate its investigation of Jane Doe’s Title IX complaint on
                 the grounds that CPD’s investigation had, to date, found insufficient evidence and
                 probable cause in support of a criminal charge against Plaintiff. [NEF Dkt. #8-1,
                 p. 6].

                The College has not terminated its investigation into either Jane Doe’s complaint
                 or Plaintiff’s complaint.




                                                   3
      2:17-cv-02671-RMG          Date Filed 10/26/17      Entry Number 20        Page 4 of 8




                                        LEGAL DISCUSSION

I.     PLAINTIFFHAS FAILED TO STATE A CLAIM UNDER              TITLE IX    AGAINST THE    COLLEGE
       FOR ALLEGED “DELIBERATE INDIFFERENCE.”

       Plaintiff’s “deliberate indifference” theory is based on the College’s “continued

investigation of John and refusal to dismiss the Title IX action against him. [The College]

ignored John’s warnings that Jane’s allegations were unfounded based on the investigation

conducted by the Charleston Police Department.” [NEF Dkt. #8-1, p. 8]. In essence, Plaintiff is

arguing that the College violates Title IX if it continues an investigation into a Title IX complaint

where a local police department investigating the same complaint concludes that it has not

uncovered probable cause that a criminal violation has occurred, and places its investigation in

an inactive status.

       Under Title IX’s “deliberate indifference” standard, a plaintiff has the burden to

“demonstrate that an official of the institution who had authority to institute corrective measures

had actual notice of, and was deliberately indifferent to, the misconduct.” Doe v. Univ. of the

South, 687 F. Supp. 2d 744, 757 (E.D. Tenn. 2009). However, to prevail, “a Plaintiff may

demonstrate a defendant’s deliberate indifference to discrimination ‘only where the recipient’s

response to the harassment or lack thereof is clearly unreasonable in light of the known

circumstances.” Id. (citations omitted).

       In support of his “deliberate indifference” claim, Plaintiff relies on the case of Wells v.

Xavier University, 7 F.Supp. 3d 746 (S.D. Ohio 2014), and actually asserts that the instant case

“is no different from Wells.” [NEF Dkt. #8-1, p. 8] (emphasis added). There are, however,

monumental differences between Wells and the instant case. In Wells, a student accused of rape

was the subject of a conduct board hearing, was found responsible for a “serious violation” of the

school’s code of conduct, and was expelled by the school. 7 F.Supp.3d at 748. In this context,


                                                 4
        2:17-cv-02671-RMG         Date Filed 10/26/17      Entry Number 20         Page 5 of 8




the court denied a Motion to Dismiss under Rule 12(b)(6) when these events took place after the

Hamilton County Prosecuting Attorney allegedly communicated his doubts about the rape to the

university’s president. Id.

         In this case, none of these events have occurred. The College has not charged Plaintiff

with misconduct. The College has not convened a conduct hearing. The College has not found

Plaintiff responsible for a “serious violation” of its Sexual Misconduct Policy (or any policy, for

that matter). The College has not expelled Plaintiff. The College has not even completed its

investigation. The College has certainly not heard from the Solicitor in Charleston County about

the case. In this light, Plaintiff’s assertion that his case “is no different from Wells,” and that his

reliance on Wells to support his legal argument, appear to be baseless.

         Despite these stark differences, Plaintiff summarily argues that “the Charleston Police

Department’s conclusion that there is insufficient evidence and probable cause in support of

Jane’s allegations should resolve CofC’s Title IX investigation…It logically follows that if the

police did not find evidence of in support of Jane’s claims that meets the threshold of probable

cause, [the College] cannot prove that John violated its policy by a preponderance of the

evidence.” [NEF Dkt. #8-1, pp. 9-10].

         There is, however, absolutely no legal basis for the Plaintiff to assert that the decision of

a local police department to place an investigation into “inactive status” must – as a matter of

law – necessarily bar the College’s own Title IX investigation, and Plaintiff directs the Court to

none.

         Paradoxically, the very document referenced by Plaintiff – the September 22, 2017 letter

from the U.S. Department of Education (“USDOE”) [NEF Dkt. #8-2] – undercuts his own

argument. The September 22, 2017 letter states as follows:



                                                   5
      2:17-cv-02671-RMG          Date Filed 10/26/17     Entry Number 20        Page 6 of 8




       The Department refers you to the Q&A on Campus Sexual Misconduct, issued
       contemporaneously with this letter, and will continue to rely on its Revised Sexual
       Harassment Guidance, which was informed by a notice-and-comment process
       and issued in 2001,3 as well as the reaffirmation of that Guidance in the Dear
       Colleague Letter on Sexual Harassment issued January 25, 2006.4 As always, the
       Department’s enforcement efforts proceed from Title IX itself5 and its
       implementing regulations.6

[NEF Dkt. #8-2, p. 2] (emphasis added). The Revised Sexual Harassment Guidance, on which

the USDOE currently relies, specifically states as follows:

       Police investigations or reports may be useful in terms of fact gathering.
       However, because legal standards for criminal investigations are different, police
       investigations or reports may not be determinative of whether harassment
       occurred under Title IX and do not relieve the school of its duty to respond
       promptly and effectively.110

(Attached as Exhibit “A”) (emphasis added).

       In short, there is no factual or legal basis for his assertion that the College’s failure to

immediately cease a Title IX investigation because of the conclusions of local law enforcement

amount to a “deliberate indifference” violation of Title IX.3 If anything, the documents on which

he relies dictate the opposite conclusion.

       For these reasons, Plaintiff’s claim against the College has no basis, and must be

dismissed with prejudice.

II.    PLAINTIFFHAS FAILED TO STATE A CLAIM UNDER             TITLE IX   AGAINST THE    COLLEGE
       FOR ALLEGED “SELECTIVE ENFORCEMENT.”

       Plaintiff’s “selective enforcement” theory is also based on the College’s “continued

investigation of John and refusal to dismiss the Title IX action against him,” and that the

decision to continue the investigation deliberately favored women over men. [NEF Dkt. #8-1, p.

3
  Furthermore, at least one Court has found that a plaintiff’s Title IX allegations must be
dismissed because the “misconduct” based on a university’s alleged failure to comply with Title
IX regulations promulgated by the United States Department of Education, does not confer a
private right of action. Doe v. Univ. of the South, 687 F. Supp. 2d at 758.


                                                6
     2:17-cv-02671-RMG          Date Filed 10/26/17      Entry Number 20        Page 7 of 8




11]. To establish a “selective enforcement” claim, the plaintiff must show that, regardless of the

student’s guilt or innocence, the severity of the penalty and/or the decision to initiate the

proceeding was affected by the student’s gender. A plaintiff may plead in the alternative that

they are in both categories, “but in neither case do wholly conclusory allegations suffice for

purposes of Rule 12(b)(6).” Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2nd Cir. 1994).

       Here, Plaintiff’s claim of selective enforcement fails because it is based on “wholly

conclusory allegations.”    Plaintiff has failed even to allege how the College’s practice of

investigating Title IX claims in cases where local law enforcement cannot determine that

probable cause exists constitutes discrimination against men. In light of USDOE’s position on

the matter referenced above, as articulated in its January 2001 Revised Sexual Harassment

Guidance, Plaintiff’s argument on this point seems particularly misplaced.

       Further, Plaintiff’s own experiences undercut his claim. Both he and Jane Doe filed

complaints with the College. Both are currently being investigated by the College. It appears

ridiculous to conclude from Plaintiff’s own experiences that the College’s decision to receive,

process, and complete both investigations is evidence of gender bias.

                                          CONCLUSION

       On the basis of the foregoing, the Defendant College of Charleston respectfully requests

that the Court grant the Motion to Dismiss on Plaintiff’s single cause of action against College

with prejudice, and for other such relief as the Court deems just and proper.

       Dated this the 26th day of October, 2017.




                                     Signature page to follow



                                                 7
2:17-cv-02671-RMG   Date Filed 10/26/17   Entry Number 20   Page 8 of 8




                        Respectfully submitted,

                        RICHARDSON PLOWDEN & ROBINSON, P.A.

                        /s/ Eugene H. Matthews
                        Eugene H. Matthews, ID #7141
                        Post Office Drawer 7788
                        Columbia, South Carolina 29202
                        T: 803.771.4400
                        F: 803.779.0016
                        Email: gmatthews@RichardsonPlowden.com

                        COUNSEL FOR DEFENDANT COLLEGE OF
                        CHARLESTON




                                  8
